Case: 4:25-cr-00140-BMB Doc #:1 Filed: 04/02/25 1o0f1. PagelD #1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) °
) 4525(R 00149
v. ) CASENO.
j Title 18, United States Code,
STEVEN WRIGHT, J Section 875(c)
)
Defendant. JUDGE BRENNAN

COUNT 1
(Transmitting a Threatening Interstate Communication, 18 U.S.C. §875(c))

The Grand Jury charges:

On or about February 18, 2025, in the Northern District of Ohio, Eastern Division,
Defendant STEVEN WRIGHT did knowingly and willfully transmit in interstate and foreign
commerce a communication containing a threat to injure the person of another, to wit, to get in a

shootout with police officers, in violation of Title 18, United States Code Section 875(c).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
